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AO91(Rev.08/09) CriminalComplaint

                                U NITED STATES D ISTRICT C OURT
                                                       forthe
                                            Southern DistrictofFlorida

               United StatesofAmerica                     )
                           V.                             )
                   Kerby Brown,Jr.                        )    CaseNo. 19-MJ-6265-AOV
                                                          )
                                                          )
                                                          )

                                            CRIM IN AI,COM PLY        T

         1,thecomplainantin thiscase,statethatthefollowing istrueto the bestofmy knowledge andbelief.
Onoraboutthedatets)of Nov.20,2018to Feb.5,2019 inthecountyof                               Broward            inthe
   Southem     Districtof    Florida      ,thedefendantts)violated:
           CodeSection                                            OffenseDescription
18USC jj1591(a)(1)and1594.              Recruit,Entice,Harbor,Transport,orAdvedise a MinorVictim to Engage in
                                        Com m ercialSexActs,and Attem ptforM inorVictim to Engage in Com m ercial
                                        SexActs.




         Thiscriminalcomplaintisbased on thesefacts:
         SEE AU ACHED AFFIDAVIT.




         W Continuedontheattachedsheet.
                                                                                                          1


                                                                                 Complainant'
                                                                                            ssi
                                                                                              gnature

                                                                                SA JosephO liver,FBI
                                                                                  Printed nameandtitle

Sworn to beforem eand signed in mypresence.
                                                                                     F

D ate:        05/24/2019
                                                                                    Judge'
                                                                                         ssignature

City and state:              FortLauderdale,Florida                       Alici
                                                                              a 0.Valle,U.S.Magi
                                                                                               strate Judge
                                                                                  Printed nam eandtitle
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                  A FFID AV IT IN SUPPO R T O F C RIM IN AL CO M PLA IN T

         1,Joseph R.Oliver,having been duly sw orn,hereby depose and state:

                                        BA CK G R O U N D

                Inm a SpecialAgent(ççSA'')with the FederalBlzreau ofInvestigation (1tFBI''),
  United StatesDepartmentofJustice CçDOJ''),currently assigned to the Child Exploitation and
  Human Traffcking Task Forceofthe FBI'sM iamiDivision. M y dutiesinvolvetheinvestigation

  of a variety of violations of federalcrim inal law involving the sexualexploitation of children,

  including the com m ercialsex trafficking of m inors. lhave been an FB1 SA since August2016.

  Priorto my em ploym entwiththeFBI,lworked asa PoliceOfficerand CrimesAgainstChildren

  Detectivewith the Lexington Police Departm entin Kentucky from August2012 to August2016

  where lrespondedto and investigated casesinvolving violentcrim esagainstchildren.

                Inm a law enforcem entofficerw ithin the m eaning ofTitle 18,U nited States Code,

  Section251047),andIam empoweredby law toconductinvestigations,executeandservesearch
  warrants,and makearrestsforoffensesenum erated in Title 18 ofthe UnitesStatesCode,and for

  offensesagainstthe United States.

                Thisaffidavitismadein supportofprobablecauseforthearrestofKerbyBROW N,

  Jr.forviolationsofrecruiting,enticing,harboring,transporting,oradvertising a minorvictim to

  engage in com m ercialsex acts,and attem ptfora m inor victim to engage in com m ercialsex acts,

  inviolationof18U.S.C.jj1591(a)(1)and 1594. Sincethisaftidavitisbeingsubmitted forthe
  lim ited purpose of demonstrating probable cause in supportof the crim inal complaintagainst

  BROW N ,Ihave notincluded each and every factklzown by m e concem ing thisinvestigation,and

  have included only those facts and circum stancesthat1believe are suffcientto establish probable
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  cause forthe issuance ofthe requested crim inalcom plaintand arrestw arrant. The infonnation

  contained in thisaffidavitisbased upon m y personalknow ledgeand observations,m y training and

  experience,and infonnation obtained from other1aw enforcem entofficers and w itnesses.

                                        PR O BA BLE C A U SE

                 This affidavit concerns two m inor victim s recruited by K erby BRO W N , Jr.

  (:1BROW N'')to engage in commercialsex acts. M INOR VICTIM 1 and M INOR VICTIM 2
  identified BROW N asthe individualwho recruited,enticed,orotherwiseprovided transportation

  forthem to engage in the sexualactivities,orattem pted sexualactivities.

                                           M inor V ictim 1

                 OnNovember24,2018,theHollpvoodPoliceDepartment(1ûHPD'')respondedto
  theRamadahotel(Eslbmada'')located at1925Harrison StreetinHollywood,FL in referenceto
  childprostitution. Upon arrival,HPD madecontactwitha l4-year-old (CIM INOR VICTIM 1'').
  M IN O R V ICTIM 1 disclosed thatshe w asw ith BRO W N ata hotelparty and BR OW N attem pted

  to recnzitherto postonline com m ercialsex advertisem entson the w ebsite w w w .listcraw ler.com .l

  Even though M W OR V ICTIM 1 told BR OW N she was not interested, an advertisem ent was

  posted online advertising M IN OR V ICTIM 1 to engage in com m ercial sex activities. The

  advertisementwasseenby M INOR VICTIM 1'sfriend.Thefriend,in turn,informed herm other,

  and thefliend'smotherthen contacted theHPD,who responded totheRam adathatevening.z

         6.      U pon the com pletion of her interview ,M IN O R V ICTIM 1,who had previously


  1YourAffiant, through training and experience,isaware thatw ww .listcrawler.com isa websitethatis
  often used to advertise orotherwise prom oteprostitution.
  2Asofthe date ofthisAffidavit,law enforcementhasnotbeen ableto locatetheadvertisem entposted of
  M INOR VICTIM 1.
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  been listed as a m issing person outofFortLauderdale,FL,was released to the custody ofher

  grandm other.

         7.       HPD officers also interviewed BRO W N , who w as on scene at the Ram ada.

  BROW N denied any involvem entin prostim tion and wasreleased thatevening.

         8.       On Febnzary 1,2019,yotlrAffiantand aTask ForceOfficer(çtTFO'')with HPD
  conduded a separate interview ofM INOR VICTIM 1. M W OR VICTIM 1 stated she ran away

  from hom e and through a friend was introduced to BROW N and his group,and soon thereafter

  wentwith BROW N totheRamada. BROW N had reservedroom s//502 and #503atthe Ramada.

  According to M INOR VICTIM 1,Room #502 wasused forprostituting threeto fouradultgirls.

  M INOR VICTIM 1 stated that she stayed in Room //503 for approxim ately three days with

  BROW N .

                  Law enforcem ent has obtained hotel records fronA the Ttannada. The records

  confirm thatBROW N reservedroom s#502 and#503onNovem ber22,2018,and from November

  23-24,he reserved only room //502.

         10.      A ccording to M IN OR V ICTIM 1,while atthe Ram ada,BRO W N asked M IN OR

  VICTIM 1 if she w anted to m ake fastcash. H e explained she could send picttzresto m en orhave

  the m en com e to the room ,butnothave sex w ith them . BR OW N inform ed M m OR V ICTIM 1

  shecouldmakemoneybyjustgetlingnakedforthemen,givingthem massages,orsatisfyingtheir
  fetishessuch asfootfetishes.BROW N also askedM INOR VICTIM 1ifshewantedtopostonline

  advertisem ents for the purpose of com m ercial sex like the adult prostitutes did. The adult

 prostituteswereexpectedtom akeBROW N approxim ately$100perhour.BROW N would collect
  a11the m oney and give the girls a portion oftheproceeds.
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         11.     In addition,M INOR VICTIM 1 stated that BROW N had M INOR VICTIM 1

  follow theadultgirlsaroundwhiletheywereconducting streetprostitm iontom akestlretheywere

  w orking and m aking m oney. BRO W N m ade M FN OR VICTIM 1 turn on the GPS on herphone

  so that BROW N could track the girls' m ovements. On one occasion,M INOR VICTIM 1

  witnessed BROW N choke and hitoneofthe adultgirlsbecause shedid notm akeenough money

  forBR OW N .

         12.     D espite BRO W N 'S efforts,M IN OR V ICTIM 1 denied that she ever engaged in

  com m ercialsex acts.

         13.     M IN O R V ICTIM   1 provided to law enforcem ent an Instagram account,

  tttray cinco,''which belonged to BROW N'S f'
                                             riend who wasalso presentatthe Ramada during

  M W O R V ICTIM 1's stay. M IN O R V ICTIM 1 w as friends w ith çttray,'' the user of the

  ûttray cinco''account,and itw asiûtray''who introduced herto BRO W N . M IN O R VICTIM 1 w as

  shown a photograph from the tltray cinco''accountthatdepicted threem ales.U pon review ing the

  photograph,M IN O R V ICTIM 1 positively identified the m ale on the farrightof the photograph

  as BROW N .

                 M IN OR V ICTIM 1provided verbaland written consentforyourA ffiantto search

  hercellphone and have itforensically im aged. W ithin thephone law enforcem entfound a selfie-

  style photograph w ith date-stam p N ovem ber 20, 2018 of M IN OR V ICTIM 1 and BROW N

 togetherin w hatappearsto be a hotelroom . Law enforcem entalso found photographsofM FN OR

  VICTIM 1 atthe Ramadahoteland theHollywood Gateway lnn (ltGateway'')whereM INOR
 V ICTIM 1 wentw ith BRO W N .
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                                          M inor Victim 2

         15. On Febnzary 25,2019,a ls-year-old (EIM INOR VICTIM 2') was taken into
  custody forapickup orderoutofBroward Cotmty by the AventtlraPoliceDepartm ent. M INOR

  VICTIM 2disclosedbeingthevictim ofhumantraffickingbyasubjectknowntoherasû% .J.''
         16.     On M arch 4,2019,yotzr A ftiant conducted an interview of M IN O R V ICTIM 2.

  M IN OR V ICTIM 2 disclosed she ran aw ay from hom e arotm d the end ofJanuary 2019. W hile on

  the road,M INOR VICTIM 2 became tired ofhopping from house to house,and she was then

  introduced by her friend to som eone nam ed K .J. via social m edia. K .J. m essaged M IN OR

  V ICTIM 2 on lnstagram and arranged to pick herup. M IN O R VICTIM 2 stated K .J.'Slnstagram

  accotm t in w hich he direct m essaged her w as lçlilslattdagod.'' M INO R VICTIM 2 stated that

  ttlilslattdagod''had a girlfriend:identified in thisA ffidavitasV ICTIM 3.3

                 M IN OR V ICTIM 2 consented to a search ofherphone by law enforcem ent. W ithin

  herphone are tw o screenshotssaved by M IN OR V ICTIM 2 ofa conversation between herselfand

  BRO W N , w ho utilized the Instagram account usernam e ûililslattdagod.'' Specitk ally, the

  screenshotsfrom herphone revealthe following:

         Lilslattdagod:W atsya ntlm ber?
         M W OR V ICTIM 2:I'm otp wassup tho +
         Lilslattdagod:lm a com e getyou w ay
         M IN O R V ICTIM 2:ldek you4
         Lilslattdagod:1kno butIw ouldn'twantyou outside it's cold outhere and 1know Shay
         M INOR VICTIM 2:lneedaplacetostaytho1can'tjustgooutndcomebackoutside
         Lilslattdajod:NA Igotchu deadass1bookhotelroomsShaytoldmeboutyoualready
         and yoursltuation Iw antto help
         Lilslattdagod:Callm e it'sPhone 9412423370
         M IN O R V ICTIM 2:Can IFaceTim e you?

  3VICTIM 3'sdateofbirth isJanuary l3,2001.

  4In yourAftiant'straining and experience,Eûidek''isshortforççIDon'tEven Know''you.
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          Lilslattdagod:Y ea
          M IN O R V ICTIM 2:lm a callm
          Lilslattdagod:O kay

          18.     Afterpickingup M m OR VICTIM 2,sheand K .J.htmg outforapproximately one

  w eek atthe M otel6 on State Road 84 in FortLauderdale,FL. A fterthe firstw eek,K .J.,M IN OR

  VICTIM 2,VICTIM 3,and otherswentto Orlando,FL.W hen they arrived in Orlando,K .J.told

  M INOR VICTIM 2 he needed herto make m oney to help pay forthe hotels and carrentals. In

  orderto m ake him m oney,K .J.w anted M IN O R V ICTIM 2 to geta fake ID ,so she could dance in

  the clubslike the othergirlswho were strippers. Further,K.J.took naked picttlresofM INOR

  V ICTIM 2 to be used asadvertisem ents forsex.

          19.     ln response to the online advertisem ents,people w ould text K .J.and he w ould

  choose the person w ho w ould pay the m ost. K .J.w ould drive M IN OR V ICTIM 2 to the ttlohn's''

  houses.M W OR VICTIM 2wentto approximately six (6)houseswhilein Orlando.K.J.would
  rem ain outside the housesw hile M IN OR V ICTIM 2 w as inside. M IN O R V ICTIM 2 w ould stall

  inside,but eventually do whatever the m en w anted her to do. She confinned that the m en had

  vaginaland oralsex w ith her.

                  The tllolm 's''w ould give M IN OR V ICTIM 2 the m oney before sex. The tûdates''

  would lastapproxim ately 10 m inutes and usually occurred betw een 9:00 p.m .and 5:00 a.m . A t

  the beginning,M W OR V ICTIM 2 splitthe m oney 50/50 w ith K .J.,buteventually K .J.took all

 the m oney afterthe ttdates.'' K .J.also provided M IN O R V ICTIM 2 w ith dnzgs such as ûtm olly,''

  (çpercs,''ççzans,57and ççc-class.7:

                  O n their w ay back to Fort Lauderdale from Orlando, the group stopped at

  approxim ately 3-4 houses forM IN OR V ICTIM 2 to engage in com m ercialsex acts. W hen they
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  arrived back in FortLauderdale,they returned to the M otel6. W hile atthe M otel6,M INOR

  V ICTIM 2 had approxim ately 6-9 Eçdates.''

         22.     M IN OR V ICTIM 2 separated from K .J.afterK .J.fled from the policein Opalocka,

  FL. Follow ing their separation,K .J.kept calling and texting M W OR V ICTIM 2 and told her,

  liW hen w e catch you,you know w hat'sup.''M IN OR V ICTIM 2 viewed thisasathreatto herlife

  due to herpreviously w itnessing K .J.beatpeople up during streetfights.

         23.     M IN O R V ICTIM 2 was shown the snm e Instagram photograph as M IN O R

  V ICTIM 1 of three m ales, w hich w as posted on Instagram account, ittray cinco.'' M INO R
                                                                              -




  V ICTIM 2 positively identified K .J.asthe individualon the farrightofthe photograph,w ho w as

  previously identified by M IN OR V ICTIM 1 as BRO W N .

                 M IN OR V ICTIM 2 provided verbaland written consentforyourA ftiantto search

  hercellphone and have it forensically im aged. The search of herphone later revealed M IN OR

  VICTIM 2 had textm essage coaespondence w ith severalpeople abouther having to engage in

  com m ercialsex acts atthe direction ofK .J.,orhisaliasttslim e.''

         25.    M IN OR V ICTIM 2's phone also included tw o screenshots of a conversation

  between herselfand phonentunber(941)242-3370,which isthephonenumberthatBROW N,
  using lnstagrnm usernam e ttlilslattdagod,''told herto callhim on.The conversation states'
                                                                                           .

         (941)242-3370:ExactlyIgethotelroomsfor20dollarsthatain'tnun soyou ain'tgotta
         runaroundjustgotoschoolandtheroom that'sit
         M INOR VICTIM 2:Ijustpeeped
         M IN OR V ICTIM 2:1'm trippin
         (941)242-3370:Q)Q)
         M IN OR V ICTIM 2:This noteven the person lthoughtitw as 1'm overhere like w hatis
         hetalking about
         (941)242-3370:Doyouknow whothisisnow?
         M IN OR V ICTIM 2:Y eah ldo
         (941)242-3370:Okaysowhenyouwanttogetpickedup
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        M INOR VICTIM 2:Shay hassom em oreofm y stuffn she'satschoolrn
        (941)242-3370:W ecouldcomebackandgetit
        M IN OR V ICTIM 2: Igo to schoolfartho
        (941)242-3370:Flanaganhighright?
        M INOR VICTIM 2:No IswitchedlgotoFortLauderdalehigh(3
        (941)242-3370:That'srighthere1stay inLauderdaleV V Q)Q)
        M IN OR V ICTIM 2:G ? That'sgod
        M IN OR V ICTIM 2:Good*
        (941)242-3370:Lolwhereyouthoughtlstayed?
        26. Aftertheinterview,yourAffiantlocatedapproximatelynine(9)onlinecommercial
  sex advertisem ents of M IN OR V ICTIM 2,in which she appears naked or in otherwise sexually

 explicitpositions and is advertised to engage in com m ercialsex acts. The advertisem ents were

 posted on the w ebsite w ww .listcraw ler.com betw een February 1,2019 and February 5,2019 for

 the cities of Orlando,M iami,and Fort Lauderdale,FL. M INOR VICTIM 2 stated that the

 advertisem ents w ere posted by ç1K .J.'',i.e.BRO O   . If a potentialûûlohn''w as interested in the

 advertisem entthe phone numberposted on the advertisem ents was 941-242-3370,which isthe

 phone num ber that BRO W N instructed M IN O R V ICTIM 2 to call him on during their first

 conversation on Instagram .

                On A pril 18,2019,a search w arrantw as signed by United StatesM agistrate Judge

 Barry L.Seltzerauthorizing law enforcem entto search and seize BRO W N 'S Instagrnm account,

 Eûlilslattdagod,''in which hecom m unicated w ith M IN OR VICTIM 2.See 19-M J-6184-BLS.Y our

 A ffianthas review ed the accotmtlllilslattdagod,''and can confirm thatm ultiple photographs and

 videos depictBRO W N and itappears thatB RO W N is the user ofthe accotmt. The records also

 dem onstrate thatBRO W N initially recruited M INO R VICTIM 2 to m eetw ith him and directed

 herto then speak to him using thephonenumber,(941)242-3370. Aspreviously stated,that
 phone num ber was then listed as the contactinform ation for the com m ercialsex advertisem ents
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  feattlring M INOR VICTIM 2posted on w wm listcrawler.com .

         28.    W ithin the lnstagrnm account, your A ffiant has also found m essages betw een

  BROW N and another fem ale who identifiesherselfas a m inor. BROW N reminded the minor

  fem ale that the tw o had m et at the tûG atew ay,'' w hich your A ffiant understands to m ean the

  Gatewayhotel:alocationwhereBROW N alsotook M INOR VICTIM 1.BROW N tellstheminor

  fem ale that she could begin stripping even though she identifies herself as under 18 because

  BR OW N know speople.

         29.    Further,on multiple occasions BROW N,through lnstagram ,sends m essages to

  otherindividualsidentifyinghisphonenumberas(941)242-3370.
                                    M A Y 23.2019 A rrestofB RO W N

                On M ay 23, 2019, law enforcement found a sex related advertisement on

  ww m listcrawler.com for VICTIM 3- the individual identified by M IN OR V ICTIM 2 as

  BROW N'S girlfriend. In a controlled operation,an undercoverofficer(ççUC'')with the HPD
  contactedVICTIM 3 to schedulea date atthe La Quinta hotelin Hollywood,FL. VICTIM 3
  arrived to the La Quinta atapproximately 7:14 pm. She arrived asthepassengerin a Silver
  Chrysler 300. The Chrysler w as driven by BRO W N , and another fem ale, age 17,w as in the

  backseatofthe vehicle. V ICTIM 3,asinstructed by the U C,then entered hotelroom num ber621.

  Atthispoint,1aw enforcem entdetained V ICTIM 3,and attem pted to arrestBRO W N . BR OW N

  fled on footfrom the Chryslerbutw asapprehended and arrested soon thereafter.

                                         C O N C LU SIO N

                Based on the forgoing,lrespectfully subm itthatthere isprobable cause to believe

  thatthe defendant,K erby BRO W N ,Jr.,did recnzit,entice,harbor,transport,or advertise M INO R
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  VICTIM 2to engagein comm ercialsex acts,and attempted forM INOR VICTIM 1to engagein

  commercialsexacts,al1inviolationof18U.S.C.jj 1591(a)(1)and 1594.
        FU R TH ER Y O UR A FFIA NT SA YE TH NA U G H T.


                                                    Jose R . -         'alA gent
                                                    FederalBurea ofInvestigation
  Subscribed d swornto before me
  this     ay ofM ay,2019.
                G
                    h          .

            >             A
  A LIC IA 0 .V AL LE
  UN ITED STA TES M AG ISTM TE JUD G E
  SO UTH ERN DISTR ICT O F FLO R ID A




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